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6                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
7
        UNITED STATES OF AMERICA                 )
8
                                                 )   NO. 09-CR-00015-EFS-2
9                          Plaintiff,            )
                                                 )   ORDER GRANTING
10         v.                                    )   MOTION TO
                                                 )   MODIFY CONDITIONS
11
        JONATHAN TRI DUC NGUYEN,                 )   OF RELEASE FOR
12                                               )   TRAVEL
                           Defendant.            )
13

14         THIS MATTER having come on before this court on the Motion of
15      Defendant for a motion to modify conditions of release for travel to Las
16      Vegas, Nevada, and for expedited hearing, NOW THEREFORE,

17
           IT IS ORDERED that the Motion to Expedite/Motion to Modify
        Conditions of Release (Ct. Rec. 2390) is GRANTED.
18
           The Defendant is allowed to travel with Giao Nguyen from Seattle,
19
        Washington on October 8, 2010, to Las Vegas, Nevada and return to Seattle,
20
        Washington on October 10, 2010.          The defendant shall contact his
21
        supervising Seattle Probation Officer promptly upon his return.
22
           DATED October 7, 2010.
23
                                 S/ CYNTHIA IMBROGNO
24                       UNITED STATES MAGISTRATE JUDGE



        ORDER • Page 1
